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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

GUSTAVO M. JUAREZ-GALVAN,                          )
                                                   )
                                     Plaintiff,    )
                                                   )
v.                                                 )       Case No. 10-4145-WEB
                                                   )
UNITED PARCEL SERVICE, INC.,                       )
                                                   )
                                     Defendant.    )

                         SECOND AMENDED SCHEDULING ORDER

         On November 4, 2011, the undersigned magistrate judge conducted a telephone status

conference with the parties’ attorneys in this Title VII discrimination case. They reported

that, although plaintiff remains employed by defendant, plaintiff soon will move for leave

to file an amended complaint with a new retaliation claim. Defendant of course denies any

retaliation, but evidently does not contest plaintiff’s assertion that the information relied by

plaintiff for the proposed amendment only recently became available. Further, plaintiff just

recently filed an administrative complaint for retaliation and he has not yet received a “right-

to-sue” letter from the Kansas Human Relations Commission. Based on these circumstances,

and as agreed by both parties, the court finds there is good cause to modify the Amended

Scheduling Order previously entered in this case (doc. 32), as follows:




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                           SUMMARY OF DEADLINES AND SETTINGS
                                     Event                                    Deadline/Setting
      Plaintiff’s motion to amend                                      December 30, 2011

      Defendant’s expedited opposition, if any, to plaintiff’s         January 6, 2012
      motion to amend

      Plaintiff’s reply brief, if any, in support of motion to amend   January 10, 2012

      All fact discovery completed                                     March 16, 2012

      Proposed pretrial order due                                      March 23, 2012

      Final pretrial conference                                        April 5, 2012, at 11:00 a.m.

      All potentially dispositive motions (e.g., summary judgment)     May 4, 2012



         The trial date in this case has not yet been set; the court will subsequently set the case

for trial. All other provisions of the original Scheduling Order (doc. 9) and the Amended

Scheduling Order (doc. 32) shall remain in effect. The schedule adopted in this Second

Amended Scheduling Order shall not be modified except by leave of court upon a showing

of good cause.

         IT IS SO ORDERED.

         Dated November 4, 2011, at Kansas City, Kansas.




                                                      s/ James P. O’Hara
                                                     James P. O’Hara
                                                     U.S. Magistrate Judge




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